      Case 3:15-cv-00783-P Document 11 Filed 06/17/15               Page 1 of 2 PageID 68


                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


ALEJANDRO HERNANDEZ,                            §
                                                §
        Plaintiff,                              §      CIVIL ACTION NO. 3:15-CV-00783-P
                                                §
vs.                                             §
                                                §                  JURY DEMAND
STATE FARM LLOYDS,                              §
                                                §
        Defendant.                              §
                                                §

                     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiff Alejandro Hernandez and Defendant State Farm Lloyds hereby stipulate to the

voluntary dismissal with prejudice of this matter, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii). Therefore, Plaintiff’s claims against Defendant State Farm Lloyds are hereby

dismissed with prejudice, with each party to bear its own costs, if any.


        SO STIPULATED, this the 17th day of June 2015.


                                              Respectfully submitted,

                                              /s/ Jessica Taylor*
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                                              And

JOINT STIPULATION OF DISMISSAL WITH PREJUDICE – Page 1
2212126v1
10578.122
    Case 3:15-cv-00783-P Document 11 Filed 06/17/15                 Page 2 of 2 PageID 69




                                            /s/ Rhonda J. Thompson
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                                            COUNSEL FOR DEFENDANT
                                            STATE FARM LLOYDS



                               CERTIFICATE OF SERVICE

        The undersigned certifies that on the 17th day of June 2015, the foregoing pleading was
delivered to the following counsel of record for Plaintiff via electronic filing and e-mail in
accordance with the Federal Rules of Civil Procedure:

        Via Electronic Filing and E-mail:
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                                            /s/ Adrienne B. Hamil
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JOINT STIPULATION OF DISMISSAL WITH PREJUDICE – Page 2
2212126v1
10578.122
